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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                   ORDER HOLDING NORENSBERG & ASSOCIATES INC.
                     AND DANIEL NORENSBERG IN CONTEMPT AND
                       IMPOSING COERCIVE CIVIL SANCTIONS

                 On August 8, 2022, the Court entered its Order Authorizing Discovery Pursuant

to Rule 2004 of the Federal Rules of Bankruptcy Procedure [Dkt. No. 647] (the “Rule 2004

Order”); and Stephen Gray, not individually but solely in his capacity as the Chapter 11 trustee

(the “Trustee”) of the above-captioned debtor (the “Debtor”), issued and served a subpoena to

Norensberg & Associates Inc. (“Norensberg”) on September 20, 2022 pursuant to the Rule 2004

Order (the “Trustee Subpoena”) which requires Norensberg to, among other things, produce all

documents and communications concerning, reflecting, or evidencing the Debtor’s affairs, assets,

liabilities, and transfers; and on October 26, 2022, the Trustee filed his Motion for an Order

Compelling Norensberg & Associates Inc. to Comply with the Court’s Rule 2004 Order and

Subpoena [Dkt. No. 757] (the (“Motion to Compel”); and following the Court’s consideration of

the Motion to Compel during a hearing conducted on November 10, 2022, the Court entered the

Order Compelling Norensberg & Associates Inc. to Comply with the Court’s Rule 2004 Order

and the Trustee’s Subpoena [Dkt. No. 783] (the “Compliance Order”); and it appearing that the

Trustee served the Compliance Order in accordance with the service provisions contained therein

[Dkt. No. 787]; and on December 6, 2022, the Trustee having filed the Declaration of Neil
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Berger in Further Support of Request for Entry of an Order Imposing Coercive Civil Sanctions –

Norensberg & Associates Inc. [Dkt. No. 822] (the “Berger Declaration”); and on December 7,

2022, Daniel Norensberg produced to the Trustee only electronic copies of the Debtor’s federal

and state tax returns for the years of 2017-2020 (the “Tax Returns”); and on December 6, 2022,

Daniel Norensberg having sent an email to the Court stating “I will promptly upload the files I

have”; and the Court having considered the Berger Declaration during the December 7, 2022

hearing in this case; and on December 9, 2022, the Court entered its Order to Show Cause (A)

Scheduling a Hearing to Consider Coercive Civil Sanctions and (B) Directing Daniel

Norensberg to Attend Such Hearing [Dkt. No. 833] (the “Order to Show Cause”) which: (a)

scheduled a hearing to be conducted on December 20, 2022 (the “December 20 Hearing”) to

consider entry of an order, inter alia, holding Norensberg and Daniel Norensberg in civil

contempt and imposing coercive civil sanctions in the amount of $500 per diem to be paid by

Daniel Norensberg based upon his and Norensberg’s failure to fully comply with the Rule 2004

Order, the Trustee’s Subpoena, and the Compliance Order, (b) directed Daniel Norensberg to

appear at the December 20 Hearing, and (c) fixed December 15, 2022 as the deadline for

objections (the “Objection Deadline”) to the finding of civil contempt and the imposition of

coercive civil sanctions; and it appearing that the Trustee complied with the service

requirements contained in the Order to Show Cause [Dkt. No. 840]; and it appearing that on

December 15, 2022, Togut, Segal & Segal LLP, counsel for the Trustee, sent an email to Daniel

Norensberg containing the registration link for his appearance at the December 20 Hearing; and

on December 20, 2022, the Court having conducted a hearing to consider the Order to Show

Cause; and Daniel Norensberg having failed to attend the December 20 Hearing despite having

been directed to do so by the Order to Show Cause, and he did not file any objection on or before
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the Objection Deadline; and upon the record made during the December 20 Hearing; and upon

all of the other pleadings and proceedings in the Chapter 11 Case; and it appearing that the

Court has jurisdiction to consider to enforce the Rule 2004 Order, the Trustee Subpoena, and the

Compliance Order; and at the conclusion of the December 20 Hearing, the Court having found

that Norensberg and Daniel Norensberg have failed to fully comply with the Rule 2004 Order,

the Trustee Subpoena, and the Compliance Order, and that Daniel Norensberg failed to comply

with the Order to Show Cause; and good and sufficient cause being established; it is hereby

                ORDERED, that Norensberg and Daniel Norensberg are in civil contempt for

their knowing violation of, and failure to fully comply with, the Rule 2004 Order, the Trustee

Subpoena, and the Compliance Order; and it is further

                ORDERED, that given if Norensberg and Daniel Norensberg failure fail to fully

comply with the Rule 2004 Order, the Trustee Subpoena, and Compliance Order on or before

January 5, 2023 at 4:00 p.m., Daniel Norensberg shall personally pay coercive civil sanctions in

the amount of $500 per diem from the date of the service of this Order, with such sanctions to

be paid daily to the Trustee in accordance with payment instructions that the Trustee shall

provide in writing by email to Daniel Norensberg, until such time that the Court has determined

that Norensberg and/or Daniel Norensberg has fully complied with all of the provisions

contained herein and in the Rule 2004 Order, the Trustee Subpoena, and the Compliance Order;

and it is further

                ORDERED, that the Trustee shall serve a copy of this order by Federal Express

and email (where available) upon Norensberg and Daniel Norensberg within one (1) business

day after the date of entry of this order, and the Trustee shall also serve a copy of this Order by

FedEx or email (where available) upon: (a) the United States Trustee, and (b) all parties that
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have filed a notice of appearance in this case not later than two (2) business days after the date of

entry of this Order, and the Trustee shall file a certificate evidencing such service within three

business days of service; and it is further

               ORDERED, that this Court retains original and exclusive jurisdiction to

implement and enforce this order and to adjudicate any and all disputes that may arise

concerning the provisions of this order.



Dated:   White Plains, New York
         January 17, 2023

                                              /s/ Sean H. Lane
                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE
